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7                 UNITED STATES DISTRICT COURT
8                      DISTRICT OF NEVADA
                                          -oOo-
9
     UNITED STATES OF AMERICA,              )
                                            )   Case No.: 2:17-cr-00180-JAD-PAL
10                                          )
                    Plaintiff,              )   STIPULATION TO CONTINUE
11                                          )   GOVERNMENT’S RESPONSE TO
           vs.                              )   DEFENDANT’S MOTION TO
12                                          )   SUPPRESS (ECF No. 203) - Second
     EVERLY JAMES,                          )   Request
                                            )
13                                          )
                    Defendant.              )
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15
                 IT IS HEREBY STIPULATED AND AGREED, by and between Steven W.
16
     Myhre, Acting United States Attorney; and Cristina D. Silva, Assistant United
17
     States Attorneys, counsel for the United States of America, and Christopher Oram,
18
     Esq., counsel for defendant EVERLY JAMES, for the reasons set forth herein, that
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     the Government’s response to defendant’s motion to suppress (ECF No. 203),
20
     currently due on November 30, 2017, be continued for three (3) weeks for the
21
     following reasons:
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23
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 1               1. Counsel for the Government recently provided the Defendant with

 2   additional evidence that could extend the currently charged conspiracy. Counsel for

 3   the Defendant needs additional time to review the discovery and discuss it with his

 4   client.
 5               2. Further, Defendant’s counsel has been in a State of Nevada homicide
 6
     trial for several weeks. As of November 27, 2017, the jury is deliberating.
 7
                 3. The defendant is in custody and but does not object to the continuance.
 8
                 4. Additionally, denial of this request for continuance could result in a
 9
     miscarriage of justice because it will prevent the Defendant from receiving and
10
     reviewing additional information with his counsel, and it could also deny the parties
11
     an opportunity to engage in more fulsome plea negotiations.
12
                 5. This is the second request for continue the response to the motion to
13
     suppress.
14

15               DATED this 27th day of November, 2017.
16                                                  STEVEN W. MYHRE
                                                    Acting United States Attorney
17
                                                          /s/
18
                                                    CRISTINA D. SILVA
19                                                  FRANK J. COUMOU
                                                    Assistant United States Attorneys
20
                                                         /s/
21                                                  CHRISTOPHER ORAM, ESQ.
                                                    Counsel for Defendant James
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1                   UNITED STATES DISTRICT COURT
2                        DISTRICT OF NEVADA
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3
     UNITED STATES OF AMERICA,                   )
                                                 ) Case No.: 2:17-cr-00180-JAD-PAL
4                                                )
                    Plaintiff,                   ) ORDER
5                                                )
           vs.                                   )
6                                                )
     EVERLY JAMES,                               )
                                                 )
7                                                )
                    Defendant.                   )
8

9                                        FINDINGS OF FACT

10         Based on the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12               1. Counsel for the Government recently provided the Defendant with

13                  additional evidence that could extend the currently charged conspiracy.

14                  Counsel for the Defendant needs additional time to review the

15                  discovery and discuss it with his client.

16               2. Further, Defendant’s counsel has been in a State of Nevada homicide

17   trial for several weeks. As of November 27, 2017, the jury is deliberating.

18               3. The defendant is in custody and but does not object to the continuance.

19               4. Additionally, denial of this request for continuance could result in a

20   miscarriage of justice because it will prevent the Defendant from receiving and

21   reviewing additional information with his counsel, and it could also deny the parties

22   an opportunity to engage in more fulsome plea negotiations.

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 1               5. This is the second request for continue the response to the motion to

 2   suppress.

 3               For all of the above-stated reasons, the end of justice would best be served

 4   by a three-week continuation of the deadline for the Government to file its response
 5   to the Defendant’s Motion to Suppress (ECF No. 203).
 6
                                             ORDER
 7
           IT IS ORDERED that the Government’s deadline to respond to the
 8
     Defendant’s motion to suppress, currently scheduled for November, 2017, be vacated
 9
     and continued to December 21, 2017.
10
           DATED this 1st day of December, 2017.
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                                               _______________________________________
13                                             THE HONORABLE PEGGY A. LEEN
                                               United States Magistrate Judge
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